Case 1:19-cv-21702-RNS Document 10 Entered on FLSD Docket 06/06/2019 Page 1 of 6



                                       UNITED STATES DISTRICT COURT               FILED B'l         t'G         D.C.

                                                 FOR THE                                JUN 0 5 2019
                                                                                          ANGELA E. NOBLE
                                       SOUTHERN DISTRICT OF FLORIDA                      CLERK U.S. DIST. CT.
                                                                                         S. D. OF FLA - MIAMI




   Spectrum Image, Inc

   dba Spectrum Aesthetics

    vs                                                                   Civil case: 19-cv-21702-RNS




   Nicholas Makozy




                                            MOTION TO DISMISS

   AND NOW comes Nicholas Makozy, Pro-se to file this motion:

   1. Defendant was served with this paperwork on or around May 15, 2019 in PA

   2. Defendant has never lived in Florida, does not have an address in Florida, and never born in
   Florida.

   3. Defendant was born and raised in PA and has continously lived there for 23 years. Attached
   exhibit 1 shows drivers license history dating back to Jan 5, 2013.

   4. Defendant lives at 1808 Garfield St in Aliquippa, Pa. Attached exhibit 2 is the ORIGINAL lease
   with Teo Desantis dated from 9-17-14. It continues to renew each year thereafter.

   5. Defendant graduated Mars High School in Mars, PA in 2014 and graduated college from
   Robert Morris University in Moon Township, PA. Defendant worked through college in PA and
   is still employed in a job in PA.

    Defendant asks this case be immediately dismissed against him and sanction the Plaintiff along
   with their attorneys for $SOOK for damaging the good name of Nicholas Makozy. This lawsuit is
   splattered all over google and has damaged the good name and reputation of Defendant.




    Respectfully submitted,
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'I' ~~~~~~~~~N~!~TATIO~
                    PENNSYLVANIA DEPARTMENT OF TRANSPORTATION
                                                                     E;fil fBt T J

                                    BUREAU OF DRIVER LICENSING
                                           FULL DRIVER'S HISTORY
                                                MAY 25 2019


 FULL LEGAL NAME:                                     DRIVER'S LICENSE NO:    31091737

  NICHOLAS RYAN MAKOZV                                REAL ID:                NONE

 EXPANDED NAME:

  NICHOLAS                                            TRUNC:N                 TRANSLIT: N

  RYAN                                                TRUNC:N                 TRANSLIT: N

   MAKOZY                                             TRUNC: N                TRANSLIT: N

    1808 GARFIELD ST UNIT A                           DATE OF BIRTH:          MAY 221996

   ALIQUIPPA, PA 15001                                SEX:                    MALE

                                                      RECORD TYPE:            REG LICENSE

                                                      VETERAN STATUS:         NOT DECLARED

 DRIVER LICENSE (DL)                                  COMMERCIAL DRIVER LICENSE (COL)

 LICENSE CLASS:               c                       COL LICENSE CLASS:

 LICENSE ISSUE DATE:          MAY042016               COL LICENSE ISSUED:

 LICENSE EXPIRES:             MAY23 2020              COL LICENSE EXPIRES:

 ORIG ISSUE DATE:             JAN 052013              COL ENDORSEMENTS:       NONE

 MED RESTRICTIONS:                                    COL RESTRICTIONS:       NONE

 LEARNER PERMITS:                                     COL LEARNER PERMITS:

 LICENSE STATUS:              VALID                   COL LICENSE STATUS:     VALID

 COL MED SELF CERT:                                   COL LIC DOWNGRADED:

                                                      SB ENDORSEMENT:

 OCCUPATIONAL LIMITED LICENSE (OLL)                   PROBATIONARY LICENSE (PL)

 OLL LICENSE CLASS:                                   PL LICENSE CLASS:

 OLL LICENSE ISSUED:                                  PL LICENSE ORIG ISS:

 OLL LICENSE EXPIRES:                                 PL LICENSE ISSUED:

 OLL LICENSE STATUS:                                  PL LICENSE EXPIRES:

                                                      PL LICENSE STATUS:

 INTERLOCK LIMITED LICENSE (llLL)                     MEDICAL EXAMINER (ME)

 JILL LICENSE CLASS:                                  ME NAME:

 llLL LICENSE ISSUED:                                 ME TELEPHONE:

 JILL LICENSE EXPIRES:

 JILL LICENSE STATUS:

 MEDICAL CERTIFICATE (MC)

 MC STATUS:                                           MC RESTRICTIONS:

 MC ISSUED:                                           ME REGISTRY NO:
Case 1:19-cv-21702-RNS Document 10 Entered on FLSD Docket 06/06/2019 Page 3 of 6
LICENSE NUMBER: 31091737                                                    PAGE: 2

 MC EXPIRES:                                        ME LICENSE NO:

                                                    ME SPECIALITY CODE:

                                                    ME LICENSING
                                                    JURISDICTION CODE:

 SKILL PERFORMANCE EVALUATION (SPE)                 WAIVER/EXEMPT (\N/E)

 SPE EFFECTNE:                                      W/E EFFECTIVE:

 SPE EXPIRES:                                       W/E EXPIRES:

                         REPORT OF VIOLATIONS AND DEPARTMENTAL ACTIONS


                 NO VIOLATIONS OR DEPARTMENTAL ACTIONS DURING THIS REPORTING PERIOD


                             REPORT OF MEDICALS AND DEPARTMENTAL ACTIONS


                  NO MEDICALS OR DEPARTMENTAL ACTIONS DURING THIS REPORTING PERIOD

                         REPORT OF ACCIDENTS AND DEPARTMENTAL ACTIONS


                                NO ACCIDENTS DURING THIS REPORTING PERIOD



                                           ***END OF RECORD***



 WID#: 191452650000957-001

 PROCESSED: 5/25/2019
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                                       LEASE AGREEMENT
       LANp~oAoLz'~ """D? ~ 11 7'?_?'!'@.~~~- q'"_                                                           ___..._a!fi   7. ·   OR ASSIGNS
       TEN:O.NTi  tiiicboiaio Ma!to:zy                                                                    soc.srt_·----~---
       TH{ANT'.-·--·.                             ,                                                       SOC. SEC. _ _ _ _ _ __
                o '. EACH TENANT IS ltJDIVIDUl\LL Y RESPONSIBLE FOR THE TERMS OF THE LEASE
       AODRESS/USi';_Qf.f..REMISES
       STREET~f.(. b,r:is~;o.'-~~.~·~' __~·•l: J.P,ti.a       Garfj     el a       Street                           APT. NO.--A_ _ _ _

       ~;;;sE :~a:iis_Es_ARE"'F~ts1itf&riAL      usE       THE ABove
      RENT OR SUB·LET THE PRE•.CSES OR ANY PART-TO ANYONE ELSE. .
                                                                       ~v             PMm    TENA~T_('6~f
                                                                                                       SRY No1         T~:\'Ahf        1

       1. TERM & RENT:       Tloe Te"a"! shall pay lo the Landlord rent for lhe leased premises for lhe lerm ol
      12_(monlhS).be\)mmnQ             October 1st 201·4                                                   (dalel
      andendlno            Swi;;itr;ii:.bQr JOth 2Q1§                                            .(dale),lhesllm
      ol --------$--4~ .. G •                       dollars($   7§ Q , QQ        ), payable In advance, In equal
      ononlhly poymenls of    $ I 5 0 O0---'---~ dollars ($               7 § Q , QQ       , In lull and wllhoul
       (ur,her demand on lhe       ~+RST            day of each monlh during lhe lernh:if m~ lease agreement
             After 'he \ntUat term ftlfs~ase wit! renew for the same lerm. Upon 45 days notice Landlord may edlust
       mnls during eact1 rnn~el wllfloul 11-ller.ttng 11lhnr.1erma.and r,ondtUons..Tenenl may lermlnale uy nclll~;no
       Landlord In writing 30 days before end of lease. erm or 30 days before effective dale ol renl Increase.
       Occupancy Is considered In efJecl unUI lhe tlay keys are delivered to l•ndlord.
        2. SECURITY DC:POSlT             . ·· ' <if,1:·;"\'.' .,, . ' .          . ·
           The Tenen! shall deposit wllh_lhe landlord a sum oiS         7 5 0 QQ     as security. Tennnl ooreee end
      undarsfands fhe securlly deposit may be ioeed by Iha Landlord lor (1) unpaid rents (2) daonogos caused
      beyond lhe normal'weRr and leer lo the premises andtor building In which the premises are conlalned and 10
      any appliances futnlahect by the Landlord.13) for any breach ol tease. The security denosll shall not he used hy
      the lenanl for lhe llnel monlh'a renl. (TENANT WAIVES PROVISIONS OF LANDLORD TENANT ACT
      SECTION 511.2 REGARDING PAYMENT.QF INTEREST ON SECURITY DEPOSITS.)
      _      Jv :'I    ·--· Tenanl lnlllals ----~---Tenanl lnl\lals                    1V 1111         Tenant I nil lo ls
        3. l!EtJABLE UTILITY DEPOSIT .           ' .,.     .   ,
          ,_The lenanl shall deposit wllh lhe _Landlord Iha sum of $__QQ_Jl0_ _ gas, __QQ_,__QO___ waloo,
      __ QQ~QQ__ sewaoe. __OQ._,QO_ _ garbage, _J)l).J!ll_ other. Deposit lo he returned upon proof of
      payment of llnol bllls This proof Is to be supplied by tenanl wllhln six monlhs ol dale ol vacating. (TENANT
      WAIVES ANY CLAIM TO INTEREST ON THE UTILITY DEPOSIT.)
      ---- IV      1"\      Tenenl lnlllals. · ~       NI"\ · · ' Tenen! Initials ___l'v_l'>\____ Tenanl lnfllels
        4. LATE Ct-IARGE                 1 ·);·~;~:1;;:.-,:·•  :·:·:  1 •.,, . • ·i..,.m.::. ..... ~ ....

           A lafe charge ol S.      20 ·no- must be Included If rent Is paid more than ___ •. -J.--- days after
      due or for any dishonored checks. .                   · · ·'. ·· '·' ·· · ·...     ·
           The Landlord can nccepl late payments or parilel payments or checks or money orders marked "payment
      In lull'' wllhoul losln{J any rights or remedies under this agreemenl·
        5. RENT PAYMENTS ARE TO BE. MADE TO:                                       .. .__. ,.,
       Nome:     J_eo DESanti s                                          '   •·'

      Acldress:    .E.O-R~~

      Clly.      ,b,lierui~                   ·           .                         State:          Pa.         Zlp:--l.,S,..0~0~1---
        b. 1 \::Nl\NI:::; ObLIUA   llUN~    ANO       C(JNtJITtOr~~    vr \.JVVLli'At..   c·,
              ~~ri1~~! ~~~ (~~:e~~r> l~,~~~~fv":ir~ !~~n~~;~,~~;i: ra':~ ~:~~~:. :~~n~~~~:~~J'1~ ~~ ~Jde n Y (~~~~:r~~=:~
                     9     1                              0                   1     1           1               1           65
      lho
       outharlly for the re{Julnllon end conservation of ulllltles or tuelS, (3) not destroy, aller or remove any porl ol lhe
       premises or lhe bulldlno In which the premises are locale~ or knowingly permll any person lo clo so. (4) 1101
       play or nllow lo be J)layod In a loud manner so as todlslurb Tenant's nelghbor11: a radio, lelavlslon, slereo or any
       muslcnl lnslrurnenl, (SJ nollly Landlord Jn wrlllng ol any de( eels In the premises I hat hlmJer lhe snle or reeso1,.
      abh~ use ol !he nrumlses, (6} nermll Landlord lo remove Any vehicles owned hy Tenant parked on
      umleslgnaletJ areas of properly or any unlicensed vehicles owned by Tenan1. al Tenanl's oxnenso, (7) not
      cause Ille creation ol loul odors. (8} Tenant shell not obstruct fire escapes or hallways, IOI not pcrrnll childre11
      lo play In the common hallways, entrances. stairways or elev~lors, (1 O) nol slore flammable llqultJs in or ahoul
      the premises or httlldlnu In which !he premises ore localed. (11) Tenanl shall be responsible lor kocplnu oul·
      sido stcns and walkways clear ol snow and Ice, (12) Be responsible lor keeping gross cut to a roasonahle
      lon(Jlh as specified eilher by ordinance or Landlord, (131 comply wllh rules end reoutallons as udopled
      by lhe Landlord.                                  , ..     :· ~ ·
            7. SMOKE ALARMS                         . '·'.!~:.tw:i,1 ·,~.~!l~:~·il~l,f·\,•.!:,"Y: 1 .1 ·.:
               ACCORDING TO PENNSYLVANIA LAW ACT 1988-188, "IT SHALL BE THE RESPONSIBILITY OF
               THE TENANT TO INSPECT AND TEST THE OPERATION OF THE AUTOMATIC DETECTION
               DEVICE AT THE BEGINNING OF THE TENANTS OCCUPANCY AND THEN MONTHLY TllERE·
               AFTER AND TO REPLACE BATTERIES IF NEEDED IN ORDER TO KEEP THE AUTOMATIC
               DETECTION DEVICE OPERABLE AT ALL TIMES. THE-TENANT SHALL ALSO BE RESPONSIBLE
               FOR NOTIFYING TllE OWNER IN CASE THE AUTOMATIC DETECTION DEVICE IS NOT PRO-
               PERLY FUNCTIONING.''.
            0. NOTICcS                                                  .
               All notices required 10 be olven by lhe lendlord tO.the Tenant shall be gl\IBn by leaving the samo upon Iha
       leased premises. NOTICES GIVEN BY TENANT TO LANDLORD MUST BE GIVEN BY CEflTIFIED MAIL.
            9. ENTRY BY LANDLORD                                         c •. '-':•: . :,
        -:-•   Tenant aorees lo permll the landlord, or persons authorized by lhe Landlord, lo have access lo Iha
      premises uetwean 8:00 e.m. and 8:00 p.m. (11 lo make repairs or alleralfons as Landlord may see Ill. (2) lo
      lnspecl. or lo show lhe premises. In case of emergency, Tenant authorizes enlry by lhe Landlord al any
      lime.
      10. PllONE NUMBER
               1 ~nan! aorees to forward his phone number to the Landlord within one week af!er lnslallallon.
      11. WATEf1BEDS AND LIQUID CONTAINERS
               Wnlerhecls or any llquld holding conlelners having a capeclly or more lhan twenty gallons ol llf'l\lld aro nol
      permitted In the premises without lhe wrlllen consent ol lhe Landlord
      t 2. PETS
               No enlmal of any kind shall be broughl or kepi In or about Iha premises or wllhln the bufldlna In which lhe
      nremises Are contained or on lhe property on which the building Is localed wlll1oul the wdllcn consent
      ol lhe Lentllord.
      1J. STORAGE
            Storage or locker space II provided shall be used al the sole risk ol lenanl. Oulslde storage Is
      prohlhiled                                                 '
      14. AL TE RATIONS/IMPROVEMENTS
            Temttlls shall not paint, rneke any repairs, ellerellons. additions or lmprovemenls lo lhe premises or lho
      h11lldl11g In which lhe premises ere conlalned wlthoul lhe wrllten consenl ol lhe LemJlor1J
      15. TENANT INSURANCE                          .       .    '". '. ··' ' ,.,.
            Tennnl Is responsible lor lhe Insurance of Tenant's own person Snd possessions ho·m fire and accident
      or olher casualty reuardless of lls cause as well es comprehe~slve general lleblllly Insurance lo protecl
      lenn11I from any claims In end aboul lhe pre!'llses.          ·~.-
      16. DAMAGES BY TENANT                                                         ._,.
            Tenant is responslble for all damages to lhe premises. bulldlng or appliances furnished wllhln, caused by
      the Tenanl"s lamlly, vlsllors, and employees. The Tenant agrees to pay, upon demand hy lhe landlord, lhe cost
      or repairs of damage. T,he securllydeposll held under the lerms of lhls leasa shall not be used hy the Tenant In
      whole or norl, as poyment for damages under lhls section during the term or ex I ens Ion of lhls lease. The !allure
      of lhe Tenanl lo pay for damages upon the demamJ by lhe L.endlord shell be a breach of the conditions of lllfs
      lease. Termnl remains rosponslblo fot lhe full amminl of damages existing afler vacaling the promises
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       17 DAMAG:E. BY. FIRE AND OTHER CASUALTY
             This lease shall be lerrninaled and all relll• will cease II I he pretnls~~ 9r l>uildli>y'!'re lolally darnagetl hy
       lire or olhor reasons, that are nol lhe laull or negligence of lhe Teriant, Tenant'~ family, employees, or visi101s
       as to render the premises wholly unlivable. Landlord shall not Ge liable lo any Tenant lor any loss, c.lamage, or
       inconvenience resulting from lire or other reasons.
             II the premises or building are parlially damaged by lire or other reasons lhal are nol lhe fault or
       negligence of the Tenant, Tenants family, employees orvfsllors, lhe renl shall be appmlloned by lhe area and
       Jnclillles lhal are usable. The apporlloned renl wlll conlfnue unlif lhe premises are restored lo lhe condition
       before the damage occurred Landford shall not be ilabfe lo any lenanl for any loss, damage, or Inconvenience
       resulllng horn fire or olher reasons.                                                        · ·1           •• •......

            II dam•Q• results from faull or negligence ol lhe Tenanl Tenant family, employees- or visitors, I hen Tenanl
      shall relmbwse LandlorcJ lor all damaged properly and for consequenllal damages, including loss al Income,
      resutllng from loss at use of damaged properly untll 11 has been repaired or replaced Tenanl assumes lotal
      liabllify lor Injuries .10 persons lhal result directly or lndlreclly lrom fault or negligence ol Tenant, Tenants'
      family, emr>loyees or visitor!<                                      ·
      18. LOCl<S
           Landlord maintains rfghl lo have keys lo all leased premises. The Tenant does nol have lhe rJohl lo
      chanue or add o<ldillonal locks without lhe wrllten permission of Iha Landlortl. lhe Landlord reserves tho rlohl
      lo clrnnae or remove any locks Installed wllhoul wrlllen permission and charge lhe lenant tor same or
      consider U a breach of lhe lease.
         19. ABANDONMENT
                In the evenl lhe Tenant shall have removed ell or substanlfally all of lhe Tenant's possessions from Iha
         premises and hos nol paid lhe rent by lhe dale such renl Is due and lhe Landlord has. in hfs judoment, reason·
        able cause to believe lhe Tenanl no longer Inhabits the premises, ·1he Landlord may relake possession of the
        premises. tn addiUon. lhe Tenanl agrees and understands lhel Iha Tenant shall have no lurther riohls ol enlry
        1rnd delivers lo Iha Landlord all righ1s of possession
               Propnrly lull unclaimed more lhan llfleen dayJrom Che dale lhe Landlord relnkes possession afler abnn-
        donmenl or all er lhe expirallon of lhe lerm of lhe lease Ond surrender nnd acceplance ol the premises shall he
        presumed lo have heon abandoned, and tenant gives landlord possession end nulhorily lo dispose of ll
        Should Iha Landlord choose lo slore any of ltle properly, he may c11arge a dally slorooe lee nol to exceed on
        nmoun\ equnl lo the dally rent of the apartmenl Tenanl remelns responsible for any damaues or hack
        rents
        20. VACATE PRIOR TO EXPIRATION                                  .
               Tenant shall not vacate lhe premises j)rlor lo the explrallon or lhe lerm of lhls lease wllhout lhe prior
        wrlllen consenl of lhe lam.Jlord. Tenant's obllgallons under this agreemenl shall conllnuo unlil either the 101111
         nmounl <lue lor the entire lease lerm has been paid or unlll !he Landlord has obtained e now tenant tor
         lho promises.                                      , 1 1 • •• ;.-·
               Tnnanl onrees lhol the Landlord shaU be entllled lo an amount equal 10 lhe securily denosl1 as liquidated
        danmuos in add iii on lo seeking from the Tenanl any remaining amounts that 111ay be due on lhe ~lease.
        21. VllCATE PROCEDURES
               111 Tenant will provide Landford wllh a 30 day notice by cerllfled mall prior to expiration of lhls
        lease or renewal.                                                          '      ·
              (2) Prior to vncallng ond surrender of the premises lhe Tenanl wlll remove all or his/her properly and clean
        the premises. Tennnl will supply a wrltlen change of addres!I and return tho keys to lhe Landlord. Fsiltue lo
        provide landlord s wrillen change of address relieves lhe landlord ol lhe responsibllily lo forward the
        socurlly doposfl.
              (31 Tho Ln11cllmd will, wflhln 30 days ol receipt of keys ond wrlllen chango of address. rolurn In lull or In
       parl lhe sccwily deposit If in part lhe landlord will supply a wrillen slalemenl of all deduclions ond
       ocldlllonal choryos.
       22. SllAREO UTll.ITIES
              Et eel rl<olly ······--··········-·············(Amo11nVSharo).          Waler ·········--···········-···············(Amount/Share)
              Gas/Oif········-····-···-·-···············-(AmounVShare),               Sewage················-··········-·······(Amounl/Sf1are)
              Olt1or··--· .. ·H••-·-·······-·-·----·-····· . . (Amo11nl/Share),       Olher···-·······-··-············-····· ..··--(A1nou1•l/Shn1e)
              Tenon! will puy hi~ slated share of ullltlfes l o _ _ _                                                               ... - - -·-·- .
           . . .. .          .. ···--· ___ . ______ within seven days of receipt of bill Non·poymenl of Tenant's share
       ehall conslllule a brench of lhls lease. The landlord shall not l>e responsible lo one party for delay or failure of
     · ut1ullttt1· µarly lo plovltht tm)I' sharetJ ullllly.
       23. UTILITIES
              lho following checked ulllitles are furnished by the Landlord·                                  NONE
       eleclrir.: _ _ _ uns _ _ _ waler_ _ _ sewage _ _ _ garbage _ _ _ heaL...-._. olher _ __
              llle Teruml sholl socure all ulllllles not supplied by landlord amJ lhese &hall 1.Je supplied at Tenant's own
       expenso 1 lie Lnntllord shall not be liable for any delay in furnishing ony such utility beyond lhe
       Lnndlntd's conlrnl.
       2~. llPPLll\NCES
             1 ho followlny checked appliances are lurnlshed by lhe lnndlortl:
       rolrlgoralor. __x.__              cooking stove__._x.,_              microwave oven_.,x_            dishwasher ___ --·-             onrhoge
       disposal ..•.....•. _ air condllloner_ _ _ washing machine_ .... ___ clothes dryer_ _ .. _ other----·-
       Tennnl shall be responsible for cleaning elf appliances. No appllence shall be used lor olher lhan Its
       deslgnaled purpose. Space healers not permllled
       25. CONTRACT/CUSTOM
             Completed rental appllcallon form Is hereby mode a part of this lease agreement.
             This aureemont sels forth nil promises and agreements l>e1ween LomJJorcJ uncJ Tennnl All chanoes or
       additions mus! he In writing end signed by Landlord and Tenant.
             1 he Lnndlortl shall hove lhe righl to enforce lhe provisions of lhe lease regardless of usage or cuslorn lo
       lhe contrary.
             No slnule exercise of any remedy provided the landlord under the lerms or lhls lease shall be underslood
       lo have exhausted lhat remetly.
             No delay In enlorcemenl of any provision of Ihle lease shall be uruJerslood as e welver or lhat
      provision
      26. SEVEOllBL E
             If nny pnrt or word of lhls lease Is found contrary to law, the rest shall not be eflecled.
      27. "'SPECIAL TERMS' ..
                     Tenants shall be responsible for maintaining
      walkways from ice, snow and etc NO SALT,Battery in smoke alarms,
      light bulbs and furnace filters every 6 months, also final
   cleaning and repaires. Sedurity Deposit shall NOT be used for any
    rental payments. Tenants using driveway at own risk.


     26. WAIVER OF ANY ANO ALL NOTICE TO VACATE PREMISE
          THE TENANT EXPRESSLY WAIVES ANY RIGHT TO NOTICE INCLUDING 15, 30, OR 90 DAY
     NOTICE, as provided Jn lhe Landlord Tenant Act of 1951 Sec lion 501: 11 The nollce a hove provided for
     may lJa for a loss or lime or may be waived by the tenant It the lease 10 provldea. 11 The tenanl further
     understands lhal(1) upon any breech ol lhe conditions of lhls lease or(2) upon any explrallon ol this
     lease or (3J upon Iha failure ol the tenant upon demand to sallsly any rent due, lhe Landlord need nol
     give any nollce before fifing a Landlord Tenant complalnl for eviction.
     Te nan I lnlllats ....hi.~---• Tenanl lnlllals Ni"'                       , Tenanl lnlllals ['v _rl'_____
     29. ACKNOWLEDGEMENT OF CONTENTS
          By slontno this agreement tenanl cerlllles his understanding of and salisraclion with its lerms and wlll
     sutler no hard tip as a resull of I. Tenanl also certifies lhal all required blank spaces hove been lllled in.
     TENANT
             •J
                           '·                    '-<~                                             DATE         0-IJ-l'i                       .
     Tr:N 11~T
         1
                                 .. - .. -··--·-··---·-·-·-·------------01\TE __ ,,___ ,_ .. ________ ,
              ~)91W""--


                                                                Case 1:19-cv-21702-RNS Document
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